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                                 No. 20-61019
               ______________________________________

          IN THE UNITED STATES COURT OF THE APPEALS
                      FOR THE FIFTH CIRCUIT
              ______________________________________

               CHARLES CRAWFORD, Petitioner-Appellant

                                        v.

                 BURL CAIN, ET AL., Respondent-Appellee

                _____________________________________

             PETITIONER-APPELLANT’S UNOPPOSED
            MOTION FOR EXTENSION OF TIME TO FILE
                  A PETITION FOR REHEARING
              _____________________________________

      Petitioner-Appellant, Charles Crawford, through undersigned counsel,

moves this Honorable Court pursuant to Fifth Circuit Local Rules 27.1 and

35.4 for an additional thirty (30) days to file his Petition for Rehearing,

which is currently due on December 29, 2022. Undersigned counsel has

conferred with Special Assistant Attorney General Bridgette Grant and is

authorized to state that Respondent-Appellee does not oppose this request.

      In support of this request, Petitioner-Appellant submits that the

following reasons provide good cause for an extension.




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      On December 15, 2022, this Court affirmed Mr. Crawford’s

conviction and sentence. After reviewing the Court’s opinion, counsel

believes there are important issues to raise in a petition for rehearing en

banc. However, due to several conflicting professional obligations, counsel

requires additional time to prepare the petition.

      Undersigned counsel represents the plaintiff in Olivia Coleman-

Pearson v. Emily Misty Martin, et al., Case No. 5:20cv00151 (S.D. Ga.) and

was engaged in full-day depositions for that case on December 16 and 19 in

Douglas, Georgia. Discovery is scheduled to close on January 9, 2023, and

the undersigned must conduct and defend several more depositions, attend a

status conference, and prepare discovery-related filings by that deadline.

Additionally, because the depositions will take place in Douglas, Georgia,

which is four hours away from Atlanta, the undersigned must also engage in

substantial travel over the coming weeks.

      In addition to the approaching discovery deadline, the undersigned

was recently retained to represent an individual in a civil matter that must be

filed in federal district court in Georgia by early January to comply with the

controlling statute of limitations. As a result, the undersigned must devote

substantial time over the next week to preparing the complaint and

reviewing it with the client, who resides several hours from Atlanta.


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      Lastly, the undersigned is lead class counsel in Gumm v. Ford, Case

No. 5:15-cv-00041 (M.D. Ga.), and is monitoring Defendants’ compliance

with the district court’s final order and injunction, which requires the

undersigned to spend several days over the coming weeks meeting with class

members at the Special Management Unit in Jackson, Georgia, in addition to

preparing for a status conference and meeting with opposing counsel

concerning several alleged breaches of the court’s injunction.

      WHEREFORE, Petitioner-Appellant Charles Crawford respectfully

requests that the deadline for his Petition for Rehearing be extended an

additional thirty (30) days, resulting in a new deadline of January 28, 2023.

                                        Respectfully submitted,

                                        /s/Vanessa J. Carroll
                                        Vanessa Carroll, MS Bar No. 102736
                                        Southern Center for Human Rights
                                        60 Walton Street NW
                                        Atlanta, GA 30303
                                        Phone: (608) 354-7149
                                        Email: vcarroll@schr.org

                                        Counsel for Petitioner-Appellant




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                      CERTIFICATE OF SERVICE

      The undersigned certifies that on December 22, 2022, the foregoing

was filed with the Clerk of Court via the electronic filing system, which will

send an electronic Notice of Docket Activity to the following Filing User:

      Bridgette N. Grant
      Special Assistant Attorney General
      Mississippi Attorney General’s Office
      Post Office Box 220
      Jackson, MS 39205
      bridgette.grant@ago.ms.gov

“The court’s electronic Notice of Docket Activity constitutes service of the

filed document on all Filing Users.” 5th CIR. R. 25.2.5.

                                       /s/Vanessa J. Carroll
                                       Vanessa Carroll, MS Bar No. 102736
                                       Southern Center for Human Rights
                                       60 Walton Street NW
                                       Atlanta, GA 30303
                                       Phone: (608) 354-7149
                                       Email: vcarroll@schr.org

                                       Counsel for Petitioner-Appellant




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                CERTIFICATE OF COMPLIANCE

   The undersigned certifies that:

1. This document complies with the word limit of Fed. R. App. P.

   27(d)(1)(2) because, excluding the parts of the document exempted by

   Fed. R. App. P. 32(f): this document contains 387 words.

2. This document complies with the typeface requirements of Fed. R.

   App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

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   14-point font for text.



                                     /s/Vanessa J. Carroll
                                     Vanessa Carroll, MS Bar No. 102736
                                     Southern Center for Human Rights
                                     60 Walton Street NW
                                     Atlanta, GA 30303
                                     Phone: (608) 354-7149
                                     Email: vcarroll@schr.org

                                     Counsel for Petitioner-Appellant




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